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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


BRETT E. LANG,

          Petitioner,

v.                                                      Civil Case No. 05-71898
                                                        Criminal Case No. 91-80936
UNITED STATES OF AMERICA,                               Honorable Patrick J. Duggan

          Respondent.
                                          /


                        ORDER DENYING MOTION TO TRANSFER

                           At a session of said Court, held in the U.S.
                         District Courthouse, City of Detroit, County of
                         Wayne, State of Michigan, on August 10, 2005.

          PRESENT:             THE HONORABLE PATRICK J. DUGGAN
                               U.S. DISTRICT COURT JUDGE

       Petitioner Brett E. Lang is a federal prisoner currently incarcerated at the Federal

Medical Center in Lexington, Kentucky. This matter is presently before the Court on the

Petitioner’s motion pursuant to 28 U.S.C. § 2255 challenging his sentence, filed on May 13,

2005. On June 30, 2005, the United States filed a responsive motion seeking to transfer the

case to the United States Court of Appeals for the Sixth Circuit. In its responsive motion,

the United States argues that the Petitioner’s current § 2255 motion is a second or successive

motion and should, therefore, be transferred to the Sixth Circuit pursuant to 28 U.S.C. §

2244(b)(3)(A). In Petitioner’s reply brief, Petitioner points out this motion is the first and

only motion he has filed pursuant to 28 U.S.C. § 2255 on the sentence that was entered by
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this Court on June 13, 2001. The Court agrees.

     Accordingly,

     IT IS ORDERED that the Government’s motion to transfer the case to the United

States Court of Appeals for the Sixth Circuit is DENIED.

     IT IS FURTHER ORDERED that the Government shall have 21 days to respond to

the merits of Petitioner’s 28 U.S.C. § 2255 motion.




                                         ___________________________
                                         s/PATRICK J. DUGGAN
                                         UNITED STATES DISTRICT JUDGE

Copies to:

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